               Case 19-13448-JDW           Doc 6         Filed 08/28/19 Entered 08/28/19 12:27:06   Desc Main
                                                         Document      Page 1 of 5


         1913448- Court-A- US B
         SCHNELLER AND LOMENICK, P.A.
         P.O. BOX 417

         HOLLY SPRINGS, MS 38635



         US Bankruptcy Courthouse
         703 Hwy 145 North
         Aberdeen, MS 39730




                                                           NOTICE




082819 . 0004 . 73 . 00428145   . 001   1913448 . Court . A .                                              387
                    Case 19-13448-JDW      UnitedDoc
                                                  States  Bankruptcy
                                                     6 Filed                Court
                                                             08/28/19 Entered
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                                                                                08/28/19 12:27:06                                                        Desc Main
                                                                        FOR THE
                                                          Northern Dist Of MS Aberdeen Division

   Debtor 1:    CHIQUITA HAWK                                                      Last 4 digits of Social Security number or ITIN:         XXX-XX-4809
                                                                                   EIN:

   Debtor 2:                                                                       Last 4 digits of Social Security number or ITIN:
                                                                                   EIN:

   Case Number: 19-13448-JDW                                                       Date Case Filed or Converted to Chapter 13:              August 26, 2019


Form 309I (12/15)

NOTICE OF CHAPTER 13 BANKRUPTCY CASE
For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about the meeting
of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect
debts from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert
a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under
11 U.S.C. § 1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors
who want to have their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See
line 13 below for more information.)
To protect your rights, consult an attorney. All documents filed in this case may be inspected at the bankruptcy clerk's office at the address listed below
or through PACER (Public Access to Court Electronic Records at www.pacer.gov).
The staff of the bankruptcy clerk's office cannot give legal advice.
To help creditors correctly indentify debtors, debtors submit full Social Security or Individual Taxpayer Identification Numbers, which
may appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in this case. Do not include more that the last four digits of a Social
Security or Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.

                                              About Debtor 1:                                                About Debtor 2:

1: Debtor's full name                         CHIQUITA HAWK

2: All other names used
   in the last 8 years


3: Address                                                                                                   If debtor 2 lives at a different address:
                                              6034 MARIANNA ROAD

                                              HOLLY SPRINGS, MS 38635
4: Debtor's attorney                          SCHNELLER AND LOMENICK, P.A.                                                         (662) 252-3224
                                                                                                             Contact phone
   Name and Address                           P.O. BOX 417
                                                                                                             Email
                                              HOLLY SPRINGS, MS 38635
5: Bankruptcy trustee                         Locke D. Barkley                                                                     (601) 355-6661
                                                                                                             Contact phone
   Name and Address                           6360 I-55 North
                                              Suite 140                                                      Email                 www.barkley13.com
                                              Jackson, MS 39211
6: Bankruptcy Clerk's office
   Documents in this case may be              US Bankruptcy Courthouse                                       Hours open
   filed at this address.                     703 Hwy 145 North
  You may inspect all records filed                                                                          Contact phone
  in this case at this office or              Aberdeen, MS 39730
  online a www.pacer.gov.
Form 309I Page 1                                                                                                                  For more information, see page 2


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                                                                                                                                                             341M
Debtor:   CHIQUITA HAWK                                                                                Case Number:     19-13448-JDW
                    Case 19-13448-JDW                Doc 6         Filed 08/28/19 Entered 08/28/19 12:27:06                                      Desc Main
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7: Meeting of creditors                                                                         Location:   The Landers Center
   Debtors must attend the meeting    October 10, 2019                at    01:30 PM                        4560 Venture Dr
   to be questioned under oath. In                                                                          Room 11
                                      Date                                 Time
   a joint case, both spouses must                                                                          Southaven, MS 38671
   attend.
    Creditors may attend, but are     The meeting may be continued or adjourned to a later
    not required to do so.            date. If so, the date will be on the court docket.

8: Deadlines                          Deadline to file a complaint to challenge
                                      dischargeability of certain debts:                                        Filing deadline:      December 09, 2019
   The bankruptcy clerk's office
   must receive these documents       You must file:
   and any required filing fee by         a motion if you assert that the debtors are not entitled
   the following deadlines.               to receive a discharge under U.S.C. § 1328(f), or
                                          a complaint if you want to have a paticular debt excepted
                                          from discharge under U.S.C. § 523(a)(2) or (4).
                                      Deadline for all creditors to file a proof of claim                       Filing deadline:      November 04, 2019
                                      (except governmental units):
                                      Deadline for governmental units to file a proof                           Filing deadline:      February 24, 2020
                                      of claim:

                                      Deadlines for filing proof of claim:
                                      A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                      at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you
                                      might not be paid for your claim. To be paid, you must file a proof of claim even if your claim is listed in the
                                      schedules that the debtor filed.
                                      Secured creditors retain rights in their collateral regardless of whether they file a proof of claim.
                                      Filing a proof of claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences
                                      a lawyer can explain. For example, a secured creditor who files a proof of claim may surrender important
                                      nonmonetary rights, including the right to a jury trial.
                                      Deadline to object to exemptions:                                         Filing deadline:      30 days after the
                                      The law permits debtors to keep certain property as exempt.                                     conclusion of the
                                      If you believe that the law does not authorize an exemption                                     meeting of creditors
                                      claimed, you may file an objection.

9: Filing of plan                     Miss. Bankr. L.R. 3015-1(d) requires the debtor to serve a copy of the plan and related notice on the Trustee, the US
                                      Trustee, and all creditors. The plan may contain a motion for valuation of security and/or a motion to avoid lien.
                                      Any objection to the plan or to any motion contained therein shall be in writing and filed with the Clerk of Court on
                                      or before October 24, 2019. Objections will be heard on November 12, 2019 at 01:30 PM, Oxford Federal Building,
                                      911 Jackson Avenue, Oxford, MS 38655 unless otherwise ordered by the court.
                                      the plan may be confirmed without a hearing.
                                      X      The debtor has filed a plan. The plan or a summary of the plan will be sent separately.

10: Creditors with a foreign          If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                           extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                      any questions about your rights in this case.

11: Filing a chapter 13               Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                   according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                      plan and appear at the confirmation hearing. A copy of the plan will be sent to you later and the court will
                                      send you a notice of the confirmation hearing. The debtor will remain in possession of the property and may
                                      continue to operate the business, if any, unless the court orders otherwise.

12: Exempt property                   The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed
                                      to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as exempt.
                                      You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that the
                                      law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.

13: Discharge of debts                Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                      However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                      are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                      except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                      523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                      If you beleive that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                      you must file a motion. The bankruptcy clerk's office must receive the objection by the deadline to object to
                                      exenptions in line 8.


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                                                                                                   0004
            Case 19-13448-JDW
                                 CERTIFICATE       OF MAILING
                                   Doc 6 Filed 08/28/19 Entered 08/28/19 12:27:06         Desc Main
CASE: 1913448        TRUSTEE: 73
                                              Document
                                          COURT: 387
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TASK: 08-27-2019 .00428145.N13REV         DATED: 08/28/2019
Court              US Bankruptcy Courthouse                    703 Hwy 145 North
                                                               Aberdeen, MS 39730
Trustee            Locke D. Barkley                            6360 I-55 North
                   Suite 140                                   Jackson, MS 39211
Debtor             CHIQUITA HAWK                               6034 MARIANNA ROAD
                                                               HOLLY SPRINGS, MS 38635
799       000002   SCHNELLER AND LOMENICK, P.A.                P.O. BOX 417
                                                               HOLLY SPRINGS, MS 38635
          000016   CREDIT COLLECTION SERVICE                   725 CANTON STREET
                                                               NORWOOD, MA 02062
          000015   CARDIONET INC                               P O BOX 508
                                                               MALVERN, PA 19355-0508
          000022   WAKEFIELD & ASSOCIATES                      ATTN: BANKRUPTCY
                   PO BOX 50668                                KNOXVILLE, TN 37950
          000023   MEDICAL FINANCIAL SERVICES                  6555 QUINCE RD
                   STE 301                                     MEMPHIS, TN 38119
          000014   BAPTIST MEDICAL GROUP                       P O BOX 17127
                                                               MEMPHIS, TN 38187
          000017   HEALTH FIRST FAMILY MEDICAL                 PO BOX 334
                                                               BYHALIA, MS 38611
          000005   MARSHALL COUNTY CHANCERY CLERK              PO BOX 219
                                                               HOLLY SPRINGS, MS 38635
          000006   MARSHALL COUNTY TAX COLLECTOR               POST OFFICE BOX 40
                                                               HOLLY SPRINGS, MS 38635
          000024   REPUBLIC FINANCE- OLIVE BRANCH              8230 CAMP CREEK
                   SUITE 106                                   OLIVE BRANCH, MS 38654
          000009   REPUBLIC FINANCE- OLIVE BRANCH              8230 CAMP CREEK
                   SUITE 106                                   OLIVE BRANCH, MS 38654
          000019   ORTHOONE ORTHOPAEDICS & SPORT MED           PO BOX 1607
                                                               OLIVE BRANCH, MS 38654
          000013   BAPTIST DESOTO EMERGENCY DEPARTMENT         7601 SOUTHCREST PARKWAY
                                                               SOUTHAVEN, MS 38671
          000011   RUSSELL D MOORE, III                        1001 SW LINDA DRIVE
                                                               CLINTON, MS 39056
          000010   CORPORATION SERVICE COMPANY                 7716 OLD CANTON RD STE C
                                                               MADISON, MS 39110
          000012   CT CORPORATION                              645 LAKELAND EAST DRIVE
                   SUITE 101                                   FLOWOOD, MS 39232
          000021   UNITED CONSUMER FINANCIAL SERVICES          865 BASSET RD.
                                                               WESTLAKE, OH 44145
          000007   ALLY FINANCIAL                              PO BOX 130424
                                                               ROSEVILLE, MN 55113
          000018   NOVASOM INC                                 DEPT CH 17169
                                                               PALATINE, IL 60055
          000008   EXETER FINANCE CORP                         4515 N SANTA FE AVE
                   DEPT APS                                    OKLAHOMA CITY, TX 73118
                                                                                                                 0004
                   Case 19-13448-JDW
                                                   CERTIFICATE       OF MAILING
                                                     Doc 6 Filed 08/28/19 Entered 08/28/19 12:27:06     Desc Main
CASE: 1913448        TRUSTEE: 73
                                                             Document
                                                           COURT: 387
                                                                           Page 5 of 5
                                                                                                           Page 2 of 2
TASK: 08-27-2019 .00428145.N13REV                          DATED: 08/28/2019
                000020        SOUND PHYSICIANS EM GREATER MEMPHIS               P O BOX 748113
                                                                                LOS ANGELES, CA 90074
                                                                                                         24 NOTICES
         THE ABOVE REFERENCED NOTICE WAS MAILED TO EACH OF THE ABOVE ON 08/28/2019.
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
         EXECUTED ON 08/28/2019 BY /S/EPIQ Systems, Inc.

*CM - Indicates notice served via Certified Mail
